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                                   No. 22-60556

               In the United States Court of Appeals
                       for the Fifth Circuit

                 PORT ARTHUR COMMUNITY ACTION NETWORK,
                                                Petitioner,
                                        v.
  TEXAS COMMISSION ON ENVIRONMENTAL QUALITY; AND JON NIERMANN, IN HIS
      OFFICIAL CAPACITY AS CHAIRPERSON OF THE TEXAS COMMISSION ON
                        ENVIRONMENTAL QUALITY,
                                              Respondents.


         On Appeal from Texas Commission on Environmental Quality
                        Docket No. 2021-0942-AIR

                     BRIEF OF APPELLANT
           PORT ARTHUR COMMUNITY ACTION NETWORK


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             CERTIFICATE OF INTERESTED PERSONS
      The undersigned counsel of record certifies that the following listed persons

and entities as described in the fourth sentence of 5th CIR. R. 28.2.1 have an interest

in the outcome of this case. These representations are made in order that the judges

of this court may evaluate possible disqualification or recusal.

 Appellees:                                    Counsel for Appellees:
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                                                               /s/ Amy Catherine Dinn
                                                       Attorney of record for Appellant
                                               Port Arthur Community Action Network




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          STATEMENT REGARDING ORAL ARGUMENT
      Petitioner Port Arthur Community Action Network (“PACAN”) respectfully

requests oral argument. This appeal will require the Court to consider whether the

issuance of an air pollution permit by the Texas Commission on Environmental

Quality (“TCEQ” or “Commission”) was invalid, arbitrary, or unreasonable. Oral

discussion may benefit the Court in understanding the technical and factual

background of the permitting program and resolving the legal issues.

      Oral argument will also assist the Court in understanding the larger policy

implications of TCEQ’s rejection of Federal law for communities like Port Arthur,

which are already burdened with existing and planned facilities under TCEQ’s

purview. The Federal Clean Air Act requires major new industrial sources to install

best available control technology (“BACT”) to limit their air pollution. By

definition, BACT is not stagnant; industrial processes improve and pollution control

technologies get better over time. TCEQ rejected this technology-forcing concept

embedded in the BACT-setting process when it approved air pollution limits

(“emission limits”) for the Port Arthur LNG terminal. Specifically, TCEQ failed to

set permit limits for nitrogen oxides and carbon monoxide at levels the agency

previously set at other similar facilities, like Rio Grande LNG near Brownsville.

TCEQ failed to apply the correct Federal BACT standard, and—as the U.S.

Environmental Protection Agency (“EPA”) agreed—misapplied the Federal EPA

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guidance. TCEQ failed to act in accordance with its own philosophy “to apply

regulations clearly and consistently” amongst permit applicants.1




1
    TCEQ’s Agency Philosophy, available at https://www.tceq.texas.gov/agency/mission.html.
                                               iv
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                      JURISDICTIONAL STATEMENT
        Respondent TCEQ is an administrative state agency authorized to review and

issue air quality permits pursuant to the Federal Clean Air Act. 42 U.S.C. § 7401, et.

seq. (1967); TEX. HEALTH & SAFETY CODE § 382.051(a) (1989). This petition for

review concerns an order issuing an air permit for the construction of a liquified

natural gas (“LNG”) export facility owned by Port Arthur, LNG, LLC (“Port Arthur

LNG”). 2

        This Court has “original and exclusive jurisdiction” over “any civil action for

the review of an order or action of a... State administrative agency acting pursuant

to Federal law to issue, condition, or deny any permit, license, concurrence, or

approval… required under Federal law” of a natural gas facility. 15 U.S.C. §

717r(d)(1) (2005); 15 U.S.C. § 717b (2005). Because TCEQ’s Final Order concerns

permitting of a natural gas facility, in this case, a liquefied natural gas export facility,

it is subject to review by this Court. See City of Quincy, Mass. v. Mass. Dep’t of

Envtl. Prot., 21 F.4th 8, 13-14 (1st Cir. 2021) (finding court of appeals had original

jurisdiction over petition for review of air permit for a natural gas compressor station

issued by state agency); Friends of Buckingham v. State Air Pollution Control Bd.,

947 F.3d 68, 80 (4th Cir. 2020)(same).




2
    ROA.6355-74.
                                             6
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         TCEQ signed the order on September 15, 2022 (the “Final Order”),3 and

PACAN filed this Petition for Review twenty-nine (29) days later on October 14,

2022,4 within the applicable statute of limitations. Sierra Club v. U.S. Dept of

Interior, 899 F.3d 260, 268 (4th Cir. 2018).




3
    ROA. 6374.
4
    ROA. 24423-58.
                                          7
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                       STATEMENT OF THE ISSUES
1.      TCEQ issued a permit authorizing the construction of the Port Arthur LNG

        liquefied natural gas export terminal despite the agency’s failure to follow

        applicable Federal law regarding the permitting requirements for new sources

        of air pollution. Was TCEQ’s Final Order issuing the air permit invalid,

        arbitrary, or unreasonable?


                          STATEMENT OF THE CASE
        Port Arthur LNG proposes to build a large liquefied natural gas export facility

near Port Arthur in Jefferson County, Texas.5 This case concerns the maximum

emission limits for certain pollutants, or how much air pollution Port Arthur LNG

should be allowed to release into Port Arthur’s air every year for the lifetime of the

facility. Once built, Port Arthur LNG would emit thousands of tons of air pollution

each year, much of which would consist of nitrogen oxides (“NOx”) and carbon

monoxide (“CO”) from eight gas-fired refrigeration compression turbines (herein

“the turbines”) which refrigerate and compress natural gas prior to being exported.6

        “Major stationary source[s]”—sources which will release into the air more

than 250 tons per year of a regulated pollutant—in areas such as Port Arthur, Texas,

must obtain what is known as Prevention of Significant Deterioration (“PSD”)



5
    ROA.948.
6
    ROA.969.
                                           8
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permit prior to construction. 40 C.F.R. § 52.21(b)(1) (1978). Texas has received

EPA’s approval, through a State Implementation Plan, to implement the PSD air

permit program within the State of Texas. 40 C.F.R. § 52.2270 et seq. (1999)(Part

52 Subpart SS); 54 Fed. Reg. 52,823 (Dec. 22, 1989); 30 TEX. ADMIN CODE §

116.160 (1993).

        As a precondition to receiving a PSD permit, applicants must demonstrate that

their facility meets the “Best Available Control Technology” or “BACT.” 42 U.S.C.

§ 7475(a)(4) (1977); TEX. HEALTH & SAFETY CODE § 382.0518(b)(1) (1991).

Federal law requires applicants for PSD permits to apply and adopt Federal BACT,

an emission limitation based on the maximum degree of reduction achievable for

each pollutant, taking into account energy, environmental, and economic impacts

and other costs. 40 C.F.R. § 52.21(b)(12) (1978), incorporated by reference at 30

TEX. ADMIN CODE § 116.160(c)(1)(A) (1993) (emphasis added). Every state must

adopt this Federal definition of BACT. 40 C.F.R. § 51.166(b)(12) (1978).

        Because Port Arthur LNG is a major source in Jefferson County, Texas, the

facility must receive a Federal Clean Air Act major source (i.e., PSD) permit from

TCEQ prior to commencing construction. 7 In September 2019, Port Arthur LNG

filed a PSD permit application seeking authorization to build four natural gas




7
    ROA.948-49.
                                           9
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liquefaction trains at its planned facility in Port Arthur.8 TCEQ issued a draft permit

on June 2, 2020,9 proposing BACT emission limits for the turbines of 9 parts per

million (“ppm”)10 for NOx and 25 ppm for CO. 11 In response, PACAN filed timely

public comments and a hearing request on the draft permit on September 15, 2020.12

       In August 2021, TCEQ’s three Commissioners referred PACAN’s hearing

request to the State Office of Administrative Hearings. 13 The Commissioners

directed an administrative law judge (“ALJ”) to determine if PACAN member John

Beard, Jr. had standing and if so, to conduct a full hearing on the merits of the permit

application’s BACT determinations. 14 Following a preliminary hearing on standing,

the ALJ found that PACAN had standing to challenge the permit due to the impacts

of Port Arthur LNG’s pollution on Mr. Beard. 15 The ALJ then ordered a hearing on

the merits of Port Arthur LNG’s selection of pollution control technology, among

other issues.16 A second ALJ was added to the case for the merits hearing.17



8
  ROA.909.
9
  ROA.411-99; ROA.434-35.
10
   “ppmvd” stands for “parts per million by volume, dry”. For example, “9 ppmvd” refers to (9 /
1,000,000) x 100 = 0.0009% of the volume of flue gas. The reason they stipulate “dry” is because
when the emission is measured, the instrument typically removes all moisture (water) from the
sample. The “ref. 15% O2” is required as a benchmark for the oxygen content in the flue gas. The
boiler will operate at various O2 levels, and the air district needs to normalize the measurements.
11
   ROA.960; ROA.1071.
12
   ROA.10533.
13
   ROA.13819-21.
14
   ROA.13819-21.
15
   ROA.5145-51.
16
   ROA.5172.
17
   ROA.5665
                                                10
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       Following the hearing on the merits,18 on May 20, 2022, the ALJs issued a

Proposal for Decision (“PFD”) and Proposed Order. 19 The ALJs found that the

record did not support Port Arthur LNG’s proposed BACT limits for the turbines.20

Rather, the ALJs’ Proposed Order recommended that the draft permit be amended

to reduce emissions limits from the turbines to 5 ppm NOx and 15 ppm CO. 21 The

ALJs explained that the record demonstrated that other permitted LNG export

facilities have lower NOx and CO limits on the same turbines 22 and Port Arthur LNG

failed to show why it could not meet those lower limits at its own facility. 23

       After the ALJs issued their Proposal for Decision,24 but before TCEQ issued

its Final Order,25 U.S. EPA notified TCEQ that the ALJs had correctly applied

Federal BACT.26 EPA warned TCEQ to avoid mischaracterization of EPA’s BACT

policy on this Port Arthur LNG permit. 27 Specifically, EPA took issue with TCEQ

staff (the “Executive Director’s”) interpretation of the Federal definition of BACT28




18
   ROA.12900-13693.
19
   ROA.6032-126.
20
   ROA.6032-33.
21
   The PFD proposed “an amendment that requires the refrigeration compressor turbines be
permitted with a NOx emission limit of 5ppmv [and] with a CO emission limit of 15ppmv…”.
ROA.6125,
22
   ROA.6070; ROA.6115.
23
   ROA.6070; ROA.6073.
24
   ROA.6032-126.
25
   ROA.6355-423.
26
   ROA.24530-34.
27
   ROA.24531-34.
28
   40 C.F.R. § 52.21(b)(12) (1978); 40 C.F.R. § 51.166(b)(12) (1978).)
                                            11
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and EPA’s BACT guidance (“NSR Manual”), 29 a document relied on and referenced

by all parties throughout the hearing.30

       On September 15, 2022, TCEQ Commissioners issued a Final Order

overturning portions of the ALJs’ Proposal for Decision and issuing Port Arthur

LNG’s permit without the more stringent, lower, pollution limits recommended by

the ALJs on the turbines.31 Instead of accepting the ALJs’ findings that BACT limits

for the turbines are 5 ppm NOx and 15 ppm CO based on evidence at the hearing,32

the Commission replaced the ALJs’ findings with its own 33 and adopted Port Arthur

LNG’s original proposed limits of 9 ppm NOx and 25 ppm CO. 34

       Collectively, the turbines are the largest source of pollution at Port Arthur

LNG, and the Commission’s action here increases the annual pollution from the

turbines by over 1,200 tons – 2,400,000 pounds – of air pollution per year. 35




29
   ROA.10658-978.
30
   ROA.24533-34.
31
   ROA.6355-432; ROA.6373.
32
   ROA.6107.
33
   With respect to the emission limits for the turbines, the Commissioners made the following
changes: (1) deleted Findings of Fact Nos. 62, 65, 70, 71, 72, 73, 74, 77, 78, and 79 which included
evidence of lower emission limits at other permitted LNG facilities; (2) added new Findings of
Fact Nos. 64A, 64B, 76A, and 78A to explain the Commission’s rejection of limits adopted by Rio
Grande LNG and other LNG facilities; (3) deleted Conclusion of Law Nos. 21-25 which restated
requirements from the NSR Manual and related TCEQ guidance on BACT; and (4) deleted
Conclusion of Law Nos. 26 and 30 regarding the adopted BACT limits for the turbines.
ROA.6362-36; ROA.6370-71.
34
   ROA.6372-77.
35
   ROA.6072-74; ROA.6407-09.
                                                12
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         On October 10, 2022, PACAN exhausted its administrative remedies by filing

a Motion for Rehearing,36 which was overruled by operation of law after 55 days. 30

TEX. ADMIN. CODE § 80.272(e)(1) (1999).

         PACAN now files this appeal challenging the Final Order issued by TCEQ 37

as invalid, arbitrary, or unreasonable because it issued Port Arthur LNG’s PSD

permit without requiring Federal BACT for NOx and CO emissions from the eight

turbines.




36
     ROA.24423-25047.
37
     ROA.6355-423.
                                           13
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                    SUMMARY OF THE ARGUMENT
      Port Arthur Community Action Network challenges the Final Order38 entered

by TCEQ issuing Air Quality Permit Nos. 158420, PSDTX1572, and

GHGPSDTX198 39 to Port Arthur LNG, LLC because the Final Order fails to comply

with the Federal Clean Air Act’s requirement that new major sources of air pollution

install the best available control technology to reduce that pollution.

      In both TCEQ and EPA policy and established practice, the essential starting

points for determining Federal BACT pollution limits are the pollution limits in

recently issued permits for similar sources. 40 And the BACT limits for the new

source must be at least as stringent as the most stringent limits in those recent

permits.41 The logic is simple: what other sources have been able to do to control

pollution, new applicants like Port Arthur LNG are also expected to do to control

pollution. A source can justify a less stringent limit if meeting the most stringent

limit is unreasonably expensive or otherwise has unacceptable collateral impacts,

but this justification must be well documented in the administrative record and

carefully reviewed by the permitting authority. 42




38
   ROA.6355-423.
39
   ROA.909-1422.
40
   ROA.10739; ROA.7249-50.
41
   ROA.10734; ROA.7249-50
42
   ROA.7249-50; ROA.10739.
                                          14
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      Here, the Commission issued a permit to Port Arthur 43 that fails to adopt the

most stringent limits for Nitrogen Oxides and Carbon Monoxide on its refrigeration

compression turbines and fails to justify the less stringent limits.

      Undisputed facts in the record show that multiple recent plants of the same

type have permitted limits that are significantly more stringent than those at Port

Arthur LNG,44 most notably Rio Grande LNG. 45 While Port Arthur LNG proposes a

NOx limit of 9 ppm using Dry Low NOx burners and a CO limit of 25 ppm using

good combustion practices,46 Rio Grande LNG was recently issued a permit with a

limit of 5 ppm NOx and 15 ppm CO, 47 using those same control technologies on the

same model of turbine in the same configuration and service as Rio Grande LNG.48

      Port Arthur LNG failed to include these more stringent limits in its BACT

analysis and offered no evidence to justify adopting less stringent limits.49 Following

an administrative hearing on this permit,50 two ALJs found that Port Arthur LNG’s

BACT analysis was legally deficient for this very reason. 51 The ALJs recommended




43
   ROA.6355-423.
44
   ROA.6070; ROA.10569; ROA.13530.
45
   ROA.12880.
46
   ROA.13517-18.
47
   ROA.12880.
48
   ROA.11801; ROA.12880.
49
   ROA.1074-93; ROA.6073.
50
   ROA.12900-13693.
51
   ROA.6032-33.
                                           15
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that the permit be amended to reflect the more stringent pollution limits permitted at

Rio Grande LNG and other facilities.52

       However, instead of adopting the ALJs’ recommendation, 53 the Commission

issued Port Arthur LNG’s permit with the less stringent limits. 54 The Commission

wrongly claimed that since Rio Grande LNG and other facilities were not yet

operational, that the limits had not been proven to be achievable or technically

feasible and did not need to be considered in the BACT analysis.55

       The Commission’s justification is contrary to the Federal definition of

BACT 56 and to TCEQ and EPA policy and practice that require review of BACT

limits in recently issued permits regardless of whether those facilities are operational

or not. 57 Further, TCEQ and EPA policy assume that BACT limits in a recently

issued permit are achievable and technically feasible absent a compelling showing

to the contrary.58 And neither Port Arthur LNG nor TCEQ made any such showing.59




52
   ROA.6125.
53
   ROA.6125.
54
   ROA.6373.
55
   ROA.6372-73.
56
   40 C.F.R. § 52.21(b)(12) (1978); 40 C.F.R. § 51.166(b)(12) (1978).
57
   ROA.10734-39; ROA.7249.
58
   ROA.7249-50; ROA10737-41.
59
   ROA.6072; ROA 6074.
                                              16
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       The Commission ignored the Federal definition of BACT 60 and departed from

its own 61—and EPA’s 62—policy by wrongly dismissing the significantly more

stringent pollution limits in the Rio Grande LNG permit.63 The result is a permit for

Port Arthur LNG’s turbines that will emit 80% more NOx and 66% more CO 64—

over 1,200 additional tons per year, in all—than the same turbines at Rio Grande

LNG.65 The Commission’s Final Order is contrary to law, contrary to long-standing

TCEQ and EPA policy and practice, 66 contrary to the ALJs’ findings after a lengthy

hearing,67 and contrary to the undisputed facts in the record.

       The Commission’s Final Order is thus invalid, arbitrary, or unreasonable.


                                      ARGUMENT
       PACAN challenges TCEQ’s Final Order issuing the Federal Clean Air Act

Prevention of Significant Deterioration Permit for Port Arthur LNG 68 because it fails

to meet the best available control technology (BACT) standard, as evidenced by

other nearly identical facilities with lower emission limits.




60
   40 C.F.R. § 52.21(b)(12) (1978); 40 C.F.R. § 51.166(b)(12) (1978).
61
   ROA.7241-52.
62
   ROA.10733-10807.
63
   ROA.6372-73.
64
   ROA.6107; ROA.6407-09
65
   ROA.12880.
66
   ROA.10734-39; ROA.7249.
67
   ROA.6125.
68
   ROA.6355-423.
                                              17
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 I.   STANDARD OF REVIEW

      Under the Natural Gas Act, “[f]ederal courts reviewing state agency action

afford the agencies the deference they would receive under state law.” Twp. of

Bordentown v. FERC, 903 F.3d 234, 270 (3d Cir. 2018). Under Texas law, the

standard for judicial review of TCEQ’s action is whether it is “invalid, arbitrary, or

unreasonable.” TEX. HEALTH & SAFETY CODE § 382.032(e) (1989); see United

Copper Indus., Inc. v. Grissom, 17 S.W.3d 797, 801 (Tex. App—Austin 2000, pet.

dism'd). This “unusual” standard incorporates the entire scope of review set forth in

the Texas Administrative Procedure Act (“APA”). Grissom, 17 S.W.3d at 801; Smith

v. Houston Chem. Servs., Inc., 872 S.W.2d 252, 279 n.2 (Tex. App.—Austin 1994,

writ withdrawn); TEX. GOV’T CODE § 2001.174 (1993). Under this scope of review,

the Court must reverse or remand the case if an appellant’s rights are prejudiced

because of the agency’s “findings, inferences, conclusions or decisions are (A) in

violation of a… statutory provision, (D) affected by other error of law; (E) not

reasonably supported by substantial evidence... or (F) arbitrary or capricious or

characterized by abuse of discretion[.]” TEX. GOV’T CODE § 2001.174(2) (1993).

These statutory grounds for reversal in the APA are legal questions subject to de

novo review. Grissom, 17 S.W.3d at 801.

      The substantial-evidence rule of Texas jurisprudence considers whether a

reasonable basis exists for the agency’s action. Slay v. Texas Comm’n on Envtl.


                                          18
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Quality, 351 S.W.3d 532, 549 (Tex. App.—Austin 2011, pet. denied). An “arbitrary”

agency action includes one made “without regard to the facts” and cannot stand if

the administrative order is not reasonably supported by substantial evidence. See

Gerst v. Nixon, 411 S.W.2d 350, 354 (Tex. 1966) (quoting R.R. Comm'n of Tex. v.

Shell Oil Co., 139 Tex. 66, 161 S.W.2d 1022, 1029 (1942)). In this respect, lack of

substantial evidence and agency arbitrariness have been considered “two sides of the

same coin.” See Tex. Health Facilities Comm'n v. Charter Med.–Dallas, Inc., 665

S.W.2d 446, 454 (Tex. 1984). However, an agency’s decision may be supported by

substantial evidence and still be arbitrary and capricious where the agency has not

considered all legally relevant factors or considered legally irrelevant factors.

Kawasaki Motors Corp. v. Tex. Motor Vehicle Comm’n, 855 S.W.2d 792, 795 (Tex.

App.—Austin 1993, no pet.); see Starr Ctny. v. Starr Indus. Servs., Inc., 584 S.W.2d

352, 355-56 (Tex. App.—Austin 1979, writ ref’d. n.r.e.).

      No deference is owed to the agency’s interpretation of a statute or a strictly

legal issue. Twp. of Bordentown, 903 F.3d at 270. Accordingly, this Circuit does not

have to defer to TCEQ’s interpretation of the Federal Clean Air Act, which instead

this Court reviews de novo. Id. These principles are also consistent with the Texas

state law, which does not afford deference to TCEQ when its fails to follow its own

rules. Phillips Petroleum v. Tex. Comm’n on Envtl. Quality, 121 S.W.3d 502, 505

(Tex. App—Austin 2003, no pet.); see Grissom, 17 S.W.3d at 801.


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II.      PACAN HAS STANDING TO CHALLENGE THIS AIR PERMIT.

         PACAN meets Article III standing requirements for an organization to

challenge this permit based on the property, health, and recreational interests of John

Beard, Jr., who is also PACAN’s President and Founder.69 See Summers v. Earth

Island Inst., 555 U.S. 488, 494 (2009) (noting that organizations can establishing

standing through a member). As an organizational plaintiff, PACAN must satisfy

the Hunt test for associational standing under Article III which requires an

organization to demonstrate that: (1) its members would otherwise have standing to

sue in their own right; (2) the interests the organization seeks to protect are germane

to the organization's purpose; and (3) neither the claim asserted nor the relief

requested requires the participation of individual members in the lawsuit. Hunt v.

Wash. State Apple Adver. Comm'n, 432 U.S. 333, 343 (1977); Gulf Restoration

Network v. Salazar, 683 F.3d 158, 166 (5th Cir. 2012); U.S. CONST. art 3, § 2, cl. 1.

The individual members of an organization, like Mr. Beard, have standing to sue in

their own right if (1) they have suffered an “injury in fact” that is (a) concrete and

particularized, and (b) actual or imminent, not conjectural or hypothetical; (2) the

injury is fairly traceable to the challenged action of the respondent; and (3) it is

likely, as opposed to merely speculative, that the injury will be redressed by a

favorable decision.” Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc.,


69
     ROA.4520.
                                          20
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528 U.S. 167, 180–81 (2000) (internal citations omitted); Shrimpers and Fisherman

of RGV v. Tex. Comm’n on Envtl. Quality, 968 F.3d 419, 424 (5th Cir. 2020).

      A.     Mr. Beard Has Standing to Sue in His Own Right

      Mr. Beard will suffer an injury-in-fact as a result of this permit decision

because, as Port Arthur LNG admits, the very pollutants released from Port Arthur

LNG will fall on Mr. Beard’s home in West Port Arthur.70 Port Arthur LNG also

admits that its pollution will descend into the areas where Mr. Beard recreates on

Pleasure Island. 71 In this way, Mr. Beard’s injuries are particularized. See Spokeo,

Inc. v. Robins, 578 U.S. 330, 339 (2016) (“For an injury to be ‘particularized,’ it

‘must affect the plaintiff in a personal and individual way.’”). That is, the pollution

from Port Arthur LNG will injure Mr. Beard in a personal way, in a manner not

common to the general public because the pollution will invade his legally

protectable property and recreational interests.72 Spokeo, 578 U.S. at 339.

      First, Mr. Beard is affected by Port Arthur LNG’s pollution because that

pollution will directly impact his Port Arthur home.73 Port Arthur LNG’s own

witness admitted that Mr. Beard will breathe pollution directly from the proposed

facility in his own front yard.74 Texans United for a Safe Econ. Educ. Fund v. Crown



70
   ROA.4072; ROA.4523-25.
71
   ROA.4073; ROA.4527-32; ROA.4699-703.
72
   ROA.4523-33; ROA.4538-40; ROA.4558; ROA.4587-89; ROA.4699-703.
73
   ROA.4523-25; ROA.37784-86.
74
   ROA.4072; ROA.4523-25; ROA.4699-702; ROA.37809-10.
                                          21
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Cent. Petroleum Corp., 207 F.3d 789, 792 (5th Cir. 2000); Concerned Citizens

Around Murphy v. Murphy Oil USA, Inc., 686 F. Supp. 2d 663, 670-71 (E.D. La

2010); Cmtys. For a Better Env’t v. Cenco Ref. Co., 180 F. Supp. 2d 1062, 1075

(C.D. Cal. 2001); Sierra Club v. Tri-State Generation and Transmission Ass’n, Inc.,

173 F.R.D 275, 280 (D. Colo. 1997). Specifically, Port Arthur LNG predicted their

releases of nitrogen dioxide (“NO2”) and dangerous particulate matter (“PM2.5”) will

fall on Mr. Beard’s property less than four miles from the proposed facility 75 and at

levels large enough to increase his risk of a variety of negative health effects. 76 The

additional pollution burden and odors will interfere with Mr. Beard’s daily life and

will make it harder for him to chat with neighbors in his driveway or enjoy a

barbecue with friends and family in his backyard.77

      Expert testimony also established that Mr. Beard will be at increased risk of

adverse health effects from breathing Port Arthur LNG’s pollution.78 Hall v. Norton,

266 F.3d 969, 976 (9th Cir. 2001); Tex. Campaign for the Env’t v. Lower Colo. River

Auth., No. 4:11-cv-791, 2012 WL 1067211 (S.D. Tex. Mar. 28, 2012). Port Arthur

LNG admitted that pollution from its new facility will cause increases in the

concentrations of at least two air pollutants at Mr. Beard’s home.79 Port Arthur LNG



75
   ROA.4523-24; ROA.4606; ROA.4534; ROA.37616-18.
76
   ROA.4532-33.
77
   ROA.4524; ROA.4539-40.
78
   ROA.4532-33; ROA.4538-40; ROA.37613-16.
79
   ROA.4558; ROA.4702.
                                           22
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estimates that its pollution will cause an increase at Mr. Beard’s property of 9.7

micrograms per cubic meter (“µg/m3”)80 of NO2, and 0.3 µg/m3 of PM2.5. 81 This fact

alone sets Mr. Beard apart from the general public. By Port Arthur LNG’s own

admission, pollution from its facility will reach Mr. Beard’s residence,82 where it has

the potential to interfere with his use and enjoyment of his property.83 Port Arthur

LNG’s area of impact is large, and, critically, includes Mr. Beard’s home. 84 Thus,

Mr. Beard is affected in a manner different from an individual in Dallas, Austin, or

El Paso.

       Respondent Niermann, TCEQ Chairman, expressly acknowledged that Port

Arthur LNG’s impacts to the areas where Mr. Beard lives and recreates are “not

trivial.”85 PACAN’s experts, Dr. Loren Hopkins, Chief Environmental Science

Officer, Bureau Chief of Community and Children’s Environmental Health, City of

Houston Health Department,86 and Dr. Peter DeCarlo, a professor of environmental

health and engineering at John Hopkins University, 87 agree: the level of NO2 that




80
   Micrograms per cubic meter or “µg/m3” means one millionth (10-6) of a gram of a contaminant
per cubic meter of ambient air, as measured and determined by the methods prescribed for that
contaminant.
81
   ROA.4539; ROA.4558; ROA.4702.
82
   ROA.4558; ROA.4702.
83
   ROA.4523-26; ROA.4538-40; ROA.4558-60; ROA.4587-89.
84
   ROA.4702; ROA.4534.
85
   ROA.4606.
86
   ROA.4540; ROA.37751-52.
87
   ROA.37701-02; ROA.4072.
                                             23
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Port Arthur LNG admits will fall at Mr. Beard’s home exceeds what EPA and TCEQ

refer to as the “Significant Impact Level” of 7.5 µg/m3. 88

      Port Arthur LNG’s admitted impacts on Mr. Beard’s property of 9.7 µg/m3 of

NO2 and 0.3 µg/m3 of PM2.5 increase his risk of negative health effects.89 NO2 is a

potent air pollutant that can cause a variety of adverse respiratory health effects.90

Studies have shown that NO2 can cause harm to humans and increase their risk of

health effects even at low levels. 91 Even small increases in NO2 levels—smaller than

the 9.7 µg/m3 that Port Arthur LNG modeled92—result in increased risks to humans

of the health effects mentioned above. 93

      PM2.5 is made up of microscopic particles that can penetrate deep into the

lungs and enter the bloodstream, causing a range of negative respiratory and cardiac

effects.94 There is a large body of evidence that there is no safe level of PM2.5.95 Any

increase in PM2.5 levels—including the 0.3 µg/m3 that Port Arthur LNG admits will

land on Mr. Beard’s house96—increases the risk to people. 97




88
   ROA.7032; ROA.4700-02.
89
   ROA.4072; ROA.4532-33; ROA.4538-39.
90
   ROA.4539; ROA.37724; ROA.37636-37.
91
   ROA.4539; ROA.37724.
92
   ROA.4702.
93
   ROA.4539; ROA.37725-27.
94
   ROA.4539; ROA.37725.
95
   ROA.4540; ROA.37727-28.
96
   ROA.4702.
97
   ROA.4540; ROA.37728.
                                            24
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      Mr. Beard’s injury is concrete and particularized because his respiratory

discomfort will be aggravated by Port Arthur LNG’s pollution at his home. 98 Hall,

266 F.3d at 976. Port Arthur LNG’s admitted ground-level pollution increases of 0.3

µg/m3 of PM2.5 and 9.7 µg/m3 of NO2 99 will contribute to Mr. Beard’s risk of negative

health effects.100 Mr. Beard already experiences some of the above symptoms in

response to air pollution from other industrial sources in Port Arthur, including

difficulty breathing, scratchy throat, and headaches. 101 Mr. Beard also has decreased

lung capacity and takes medication for a heart rhythm problem.102 Both conditions

make him more susceptible to health issues from air pollution.103 Accordingly, Mr.

Beard has reasonable concerns about the health effects of the pollution he will be

breathing.104 Sierra Club v. Tenn. Valley Auth., 430 F.3d 1337, 1345 (11th Cir.

2005); Murphy Oil, 686 F. Supp. 2d at 671. Reasonable concerns about the effects

of pollution and its direct effects on his recreational interests are sufficient to show

injury; PACAN does not have to show that Mr. Beard will suffer adverse health

impacts because of the proposed pollution. Murphy Oil, 686 F. Supp. 2d at 671. Mr.




98
   ROA.4523-27; ROA.4532-33.
99
   ROA.4702.
100
    ROA.4540.
101
    ROA.4532.
102
    ROA.4532-33.
103
    ROA.37753.
104
    ROA.37754-55.
                                           25
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Beard fears that the increased pollution burden from Port Arthur LNG will worsen

his symptoms and cause additional adverse effects.105

      In addition to posing a direct threat to Mr. Beard’s property interests, Port

Arthur LNG’s pollution will also adversely affect his recreational activities.106

Laidlaw, 528 U.S. at 181–84; Ecological Rights Found. v. Pac. Lumber Co., 230

F.3d 1141, 1150 (9th Cir. 2000); Public Int. Rsch. Grp. of N.J. v. Powell Duffryn

Terminals Inc, 913 F.2d 64, 71 (3d Cir. 1990). In addition to increasing pollution

levels at Mr. Beard’s home, Port Arthur LNG also admitted that its pollution will

reach two locations on Pleasure Island, an 18.5 mile-long island that hugs the coast

of Port Arthur107—Riverfront Park and Walter Umphrey State Park. 108 The pollution

increases at these two parks are even higher than the increase Port Arthur LNG

admits at Mr. Beard’s home.109 Specifically, Port Arthur LNG admits it will increase

pollution levels at Riverfront Park property by 10.9 µg/m3 of NO2 for the 1-hour

standard, and 0.34 µg/m3 of PM2.5 for the 24-hour standard.110 At Walter Umphrey

State Park, Port Arthur LNG admits it will increase pollution levels by 10.6 µg/m3

of NO2 for the 1-hour standard, and 0.29 µg/m3 of PM2.5 for the 24-hour standard.111



105
    ROA.4532-33.
106
    ROA.4527-32.
107
    ROA.37769.
108
    ROA.4702-4703; ROA.37771-72.
109
    ROA.4703; ROA.37701-02; ROA.37711.
110
    ROA.4703.
111
    ROA.4703.
                                         26
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Again, these NO2 increases exceed EPA and TCEQ’s “Significant Impacts Level”

of 7.5 µg/m3.112

      Mr. Beard engages in recreational activities at these two parks and at other

locations on and near Pleasure Island, which is directly across S. Gulf Freeway from

Port Arthur LNG and less than 900 feet away. 113 Specifically, Mr. Beard likes to

sightsee, fish, bird watch, picnic, boat, and attend special events with family and

friends on Pleasure Island, including participating in activities at and near Riverfront

Park, Lakefront Park, and Walter Umphrey State Park.114 In addition to recreating at

Pleasure Island, Mr. Beard also fishes at Keith Lake Cut, which shares a fenceline

with Port Arthur LNG. 115 The pollution increases that Port Arthur LNG predicts at

these locations near Pleasure Island are significant enough to increase the risk that

Mr. Beard will experience negative health effects.116 Mr. Beard is concerned that he

will have to curtail his recreational activities on Pleasure Island if Port Arthur LNG

is allowed to emit thousands of tons per year of toxic air pollutants. 117 Any

“identifiable trifle” of interference with aesthetic and recreational interests is

sufficient to confer standing. Public Int. Rsch. Grp. of N.J., 913 F.2d at 72.




112
    ROA.7032.
113
    ROA.4534; ROA. 4606; ROA.4527; ROA.37623-27.
114
    ROA.4527-32; ROA.37627-29.
115
    ROA.4527-32; ROA.37772; ROA.37631-33; ROA.37764-66; ROA.6701.
116
    ROA.4538-40.
117
    ROA.4532.
                                           27
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         These concrete harms threatening Mr. Beard’s property interests and

recreational interests and creating reasonable concerns for his health – justified by

Port Arthur LNG’s admission of the pollution levels it will create at his house and

on Pleasure Island – are the basis of Mr. Beard’s standing. Env't Tex. Citizen Lobby,

Inc. v. ExxonMobil Corp., 47 F.4th 408, 416 (5th Cir. 2022) (citing Env’t Tex. Citizen

Lobby, Inc. v. ExxonMobil Corp., 968 F.3d 357, 368 (5th Cir. 2020)) (explaining the

injuries suffered by the plaintiffs—interference with recreation, breathing and

smelling polluted air, and allergy-like or respiratory problems—are concrete harms

that have long been a basis for constitutional standing). Concerns about the health

effects of pollution need not be accompanied by physical symptoms of harm, St.

Bernard Citizens for Envtl. Quality, Inc. v. Chalmette Ref., LLC, 354 F. Supp. 2d

697, 702 (E.D. La. 2005), or supported by medical testimony. Id.; Murphy Oil, 686

F. Supp. 2d at 671; Cenco, 180 F. Supp. 2d at 1075. Nor do emissions need to cause

the ambient levels of air pollutants to exceed regulatory limits for a person to suffer

an injury in fact.118 Sierra Club v. Franklin Cnty. Power of Ill., LLC, 546 F.3d 918,

925 (7th Cir. 2008); LaFleur v. Whitman, 300 F.3d 256, 270–71 (2d Cir. 2002). Nor

do they require proof to a scientific certainty that the proposed facility will be the

only cause of the precise harm suffered or feared. Save our Cmty. v. U.S. EPA, 971

F.2d 1155, 1161 (5th Cir. 1992). As PACAN’s experts’ testimony indicates, the


118
      ROA.37822-23; ROA.37840-41; ROA.37859-60.
                                            28
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pollution increases from Port Arthur LNG will be “sizeable”119 or “significant”,120

will be “harmful”, 121 will “negatively impact” Mr. Beard at his home, 122 and further,

are likely underestimated by Port Arthur LNG’s modeling.123

      Mr. Beard’s injuries are fairly traceable to the air quality permit at the heart

of this dispute because the pollution from Port Arthur LNG will cause or contribute

to Mr. Beard’s injuries. Env’t Tex. Citizen Lobby, 968 F.3d at 368. The pollution

emitted from Port Arthur LNG will interfere with Mr. Beard’s use and enjoyment of

his home and the places where he recreates because there is a specific geographic

and causal nexus between the pollution and Mr. Beard’s residence (under 4 miles)124

and Pleasure Island (900 feet).125 Port Arthur LNG admitted that Mr. Beard will be

breathing its pollution at his home and on Pleasure Island at levels that exceed

regulatory Significant Impact Levels.126 Env’t Tex. Citizen Lobby, 968 F.3d at 368;

see also Env’t Tex. Citizen Lobby, 47 F.4th at 417 (explaining that traceability

requires less of a causal connection than tort law). Moreover, expert analysis of Port

Arthur LNG’s admitted pollution levels demonstrated that its pollution is likely to



119
    ROA.37701-04.
120
    ROA.4558; ROA.37673-74; ROA.37701-04.
121
    ROA.4538-40.
122
    ROA.4588; ROA.4540; ROA.37651-51; ROA.37687-92; ROA.37692-93; ROA.37712-14.
123
    ROA.37651-57; ROA.37662-63; ROA.37669-70; ROA.37681-82; ROA.37717-18;
ROA.3718-19.
124
    ROA.4523-24; ROA.4606; ROA.4534.
125
    ROA.4606; ROA.4534; ROA.4527.
126
    ROA.4700-03; ROA.37838-40.
                                          29
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increase Mr. Beard’s risk of adverse health effects.127 The evidence in the record

goes far beyond that needed to establish Article III traceability. Env’t Tex. Citizen

Lobby, 968 F.3d at 368 (explaining traceability requires something more than

conjecture but less than certainty).

         This Court can redress Mr. Beard’s injuries. The redressability factor concerns

the connection between the plaintiff’s injury and the judicial relief sought. Save our

Cmty., 971 F.2d at 1161. PACAN seeks an order either overturning TCEQ’s Final

Order issuing Port Arthur LNG’s air quality permit or remanding said permit to

TCEQ for processing in accordance with the ALJs’ Proposal for Decision. 128 A

favorable ruling from this Court would reduce the specific pollution impacts

discussed above. Env’t Tex. Citizen Lobby, 968 F.3d at 371-72 (explaining that

redressability only requires a plaintiff to show that reductions in pollution either in

frequency or magnitude are possible). Even if Port Arthur LNG will still emit some

pollutants under a modified permit, PACAN’s concerns will be addressed by more

stringent emission limits on the refrigeration compressor turbines. Sierra Club, 546

F.3d at 928. Here, if this Court adopts the limits reflected in the ALJs’ Proposal for




127
      ROA.4532-33; ROA.4538-40; ROA.37613-16.
128
      Petition for Expedited Review at 1.
                                            30
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Decision129 in accordance with the Federal definition of BACT,130 there will be up to

1,259 fewer tons of air pollution emitted into the Port Arthur air each year.131

      B.     PACAN’s Interests in this Matter are Germane to its Purpose.

      The germaneness requirement helps ensure that an association, through its

goals and purposes, will have a sufficient interest in the outcome of the litigation to

serve as the respondent’s natural adversary. Murphy Oil, 686 F. Supp. 2d at 673-74

(citing United Food and Com. Workers Union Loc. 751 v. Brown Grp., Inc., 517

U.S. 544, 555-56 (1996)). The interests PACAN seeks to protect, including air

quality and the environment in Port Arthur, are germane to the organization’s

purpose.

      PACAN is a not-for-profit community-based organization in Port Arthur,

Texas132 that mobilized immediately after Hurricane Harvey to address a slew of

environmental releases and problems associated with the storm. 133 The organization

is currently active in reviewing and challenging new air permit applications in the

area that would compound the already existing issues with air and water quality in

the City.134 PACAN is committed to residents of the City of Port Arthur and remains

concerned about the impacts that new, additional pollution sources may have on its


129
    ROA.6125.
130
    ROA.24530-34.
131
    ROA.6072-74; ROA.6407-09.
132
    ROA.37606-07.
133
    ROA.4520.
134
    ROA.4520.
                                          31
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residents.135 For example, with respect to this proposed LNG facility, PACAN

submitted written comments to TCEQ regarding the proposed permit 136 and attended

at least one public meeting about the facility 137 to raise concerns about increases in

air pollution because the application did not comply with the Clean Air Act.138

PACAN advocates for solutions that reduce or eliminate environmental and public

health hazards and improve quality of life for low-income residents in the City of

Port Arthur, 139 and PACAN and its members have a significant interest in ensuring

that any air permit issued for Port Arthur LNG’s proposed facility in the Port Arthur

area complies with all applicable statutory and regulatory requirements.140 PACAN’s

members have concerns about the health and safety risks posed by increased air

pollution and the risk of accidents or explosions from the proposed LNG terminal.141

This Court has found similar evidence supports associational standing to satisfy this

second prong of Hunt. Gulf Restoration Network, 683 F.3d at 168 (finding

organization used litigation and advocacy to support environmental causes); Save

our Wetlands, Inc. v. Sands, 711 F.2d 634 (5th Cir. 1983) (environmental advocacy

organization).



135
    ROA.4520.
136
    ROA.4522-23; ROA.13699-729.
137
    ROA.4522.
138
    ROA.13710-14.
139
    ROA.4521; ROA.37609-10.
140
    ROA.4521.
141
    ROA.4521.
                                          32
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          C.     This Challenge Does Not Require Individual Participation

          The third prong of the Hunt test focuses importantly on “matters of

administrative convenience and efficiency.” Ass'n of Am. Physicians & Surgeons,

Inc. v. Tex. Med. Bd., 627 F.3d 547, 551 (5th Cir. 2010). Courts assess this prong by

examining both the relief requested and the claims asserted. Cornerstone Christian

Schs. v. Univ. Interscholastic League, 563 F.3d 127, 134 n.5 (5th Cir. 2009). Only a

case-specific analysis will reveal whether an association or its individual members

are better positioned to present a case. Tex. Med. Bd., 627 F.3d at 552 (citing Int'l

Union, UAW v. Brock, 477 U.S. 274, 289–90 (1986)). This prong tries to avoid cases

in which the fact and extent of the injury requires members to submit individualized

proof. Brown Grp., Inc., 517 U.S. at 555-56.

          Here, PACAN seeks judicial review of TCEQ’s issuance of the Port Arthur

LNG’s permit based on its failure to comply with the Federal Clean Air Act and

requests this Court’s remand of the permit to the agency for reconsideration

consistent with the Federal definition of BACT. 142 Because PACAN’s claims relate

to TCEQ’s failure to follow Federal law in determining emission limits for a major

source of air pollution, the violation of Federal law will be proved as to all. Tex.

Med. Bd., 627 F.3d at 552. Neither the claim asserted nor the relief requested requires

the participation of individual members in this case or individual proof of damages


142
      Petition for Expedited Review at 1.
                                                33
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from Mr. Beard or any other PACAN members. See Murphy Oil, 686 F. Supp. 2d at

678. The claims are not particular to any individual. Gulf Restoration Network, 663

F.3d at 168. Nor does the relief require individualized proof. Id. Instead, the claims

can be resolved in a group context. Hunt, 432 U.S. at 344.

       Thus, PACAN has standing to challenge TCEQ’s Final Order issuing this

permit.

III.   TCEQ’S FINAL ORDER ISSUING THE PERMIT WAS INVALID,
       ARBITRARY, OR UNREASONABLE

       The Commission’s Final Order issuing Port Arthur LNG’s permit and

overruling the Proposal for Decision and Proposed Order on BACT for the

refrigeration compression turbines is invalid, arbitrary, or unreasonable.

       Following a lengthy evidentiary hearing, the ALJs found that Port Arthur

LNG failed to propose legally adequate pollution controls for the refrigeration

compression turbines at its facility.143 Based on the evidence of comparable LNG

facilities with lower pollution limits presented at the hearing,144 the ALJs found that

the Best Available Control Technology for the turbines at Port Arthur LNG can

achieve limits of 5 ppm NOx and 15 ppm CO, compared to Port Arthur LNG’s less

stringent proposed limits of 9 ppm NOx and 25 ppm CO. 145




143
    ROA.6072-74; ROA.6115-16.
144
    ROA.12900-13693; ROA.5849-50.
145
    ROA.12900-13693; ROA.5849-50.
                                          34
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 Port Arthur             NOx Limit for      CO Limit for      Record
 LNG Permit                Turbines           Turbines
 ALJ PFD               5 ppmvd at 15% O2 15 ppmvd at 15% O2 ROA.6107.

 TCEQ Final Order 9 ppmvd at 15% O2 25 ppmvd at 15% O2 ROA.6444-45.


Adopting BACT for the turbines would reduce total emissions from Port Arthur

LNG by 1,259 tons per year.

 Port Arthur                NOx Emissions             CO Emissions           Record
 LNG Permit                 from Turbines             from Turbines
 ALJ PFD                   620 tons per year        1,145 tons per year   ROA.6072-74.

 TCEQ Final Order 1,117 tons per year               1,907 tons per year   ROA.6407-09.



         The Commission disregarded the ALJs’ findings and issued Port Arthur

LNG’s permit with higher pollution limits based on its misapplication of Federal

law, mischaracterization of EPA and TCEQ guidance, and failure to follow

established EPA and TCEQ policy and practice. The Commission wrongly claimed

that the lower limits at those comparable LNG plants did not need to be considered

when selecting BACT because they had not been shown to be “achievable.” 146 In

making this finding, the Commission contradicted well-established TCEQ and EPA

policy and practice that recently permitted limits at a similar source are considered




146
      ROA.6372-73.
                                               35
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achievable and technically feasible absent a compelling showing otherwise. 147 The

Commission further ignored EPA’s specific comments on this exact point, including

a EPA’s warning that TCEQ staff were mischaracterizing BACT policy.148

       For the reasons explained below, the Commission’s Final Order is contrary to

the Federal definition of BACT 149 and an invalid, arbitrary, or unreasonable

departure from established TCEQ and EPA policy. Additionally, the Final Order

contradicts and is unsupported by the evidence in the record.

       A.      The Federal Clean Air Act Defines Best Available Control
               Technology, Not TCEQ.

       According to the Clean Air Act, before an air quality permit may be issued for

a major source, “Best Available Control Technology (BACT) must be evaluated for

and applied to all facilities.” 42 U.S.C. § 7475(a)(4) (1977).

       For facilities subject to the Federal major source (i.e., PSD) permitting

program, 150 like Port Arthur LNG, the Federal definition of BACT at 40 C.F.R. §

52.21(b)(12) (1978) applies. “Best Available Control Technology” is defined as

follows:




147
    ROA.37609-10.
148
    ROA.24530-34; ROA.10739.
149
    40 C.F.R. § 52.21(b)(12) (1978); 40 C.F.R. § 51.166(b)(12) (1978).
150
    “All facilities with pollutants subject to regulation under the Federal Clean Air Act (FCAA),
Title I, Part C shall evaluate and apply BACT as defined in §116.160(c)(1)(A) of this title (relating
to Prevention of Significant Deterioration Requirements).” 30 TEX. ADMIN. CODE § 116.111(a)(2)
(1998).
                                                 36
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          [BACT is] an emissions limitation (including a visible emissions
          standard) based on the maximum degree of reduction for each
          pollutant subject to regulation under the [Clean Air] Act which
          would be emitted from any proposed major stationary source or
          major modification which the Administrator, on a case-by-case
          basis, taking into account energy, environmental, and economic
          impacts and other costs, determines is achievable for such source or
          modification through application of production processes or
          available methods, systems, and techniques, including fuel cleaning
          or treatment or innovative fuel combustion techniques for control of
          such pollutant. In no event shall application of best available control
          technology result in emissions of any pollutant which would exceed
          the emissions allowed by any applicable standard under 40 C.F.R.
          parts 60 and 61. . .
40 C.F.R. § 52.21(b)(12) (1978) (emphasis added).

         BACT requires a comprehensive analysis of all potentially available emission

control measures and mandates that a new source comply with emission limits that

correspond to the most effective control measures achievable. 151

         Congress created the BACT concept in order “to minimize emissions.” S.

Rep. No. 95-127 at 29 (1977). One of the core aims of the 1977 Amendments to the

Act was to compel the “rapid adoption of improvements in technology as new

sources are built.” Id. at 18. The BACT program is technology-forcing and intended

to become more stringent over time as control technologies improve and new cleaner

processes are introduced. Id. Congress intended BACT as “[p]ossibly [the] most

important” of the 1977 Act's many technology-fostering measures. Id. This



151
      ROA.10737-41.
                                            37
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technology-forcing philosophy was “fundamental” to Congress's adoption of the

BACT requirement and congressional efforts throughout the 1977 amendments “to

accentuate technological innovation in the control of air pollutants.” Id. at 10.

          The Clean Air Act allows states to seek approval from EPA to administer their

state’s Federal (i.e., PSD) permitting program. Approvable state programs must be

incorporated into an approved state plan and must “include enforceable emission

limitations and other control measures, means, or techniques . . . as may be necessary

or appropriate to meet the applicable [Clean Air Act] requirements.” 42 U.S.C. §

7410(a)(2)(A) (1955). TCEQ’s current regulations and the EPA-approved state plan

incorporate by reference the Federal PSD rules including the Federal definition of

BACT 152 and Federal rules regarding technology reviews. 54 Fed. Reg. 52,823 (Dec.

22, 1989); see 30 TEX. ADMIN. CODE §§ 116.160(c)(2)(A)-(B) (1993); 40 C.F.R. §

52.2270 et seq. (1999); see also 30 TEX. ADMIN. CODE § 116.111(a)(2)(C) (1998).

The Texas state plan also binds Texas to the interpretations and guidance made by

EPA with regard to PSD. 54 Fed. Reg. at 52,824. As EPA stated when it approved

Texas’ PSD program, “[A]ction by the EPA to approve this PSD program as part of

the [State Implementation Plan] will have the effect of requiring the state to follow

EPA’s current and future interpretations of the Act’s PSD provisions and EPA

regulations, as well as EPA’s operating policies and guidance….” Id. While Texas


152
      40 C.F.R. § 52.21(b)(12) (1978); 40 C.F.R. § 51.166(b)(12) (1978).
                                                 38
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implements the PSD program within its borders, Texas “is in fact acting pursuant to

the federal [Clean Air Act].” See, e.g., City of Quincy, 21 F.4th at 11 (emphasis

added)(explaining the state’s role).

         To guide applicants and permit reviewers in selecting the correct limits for

BACT, EPA and TCEQ have developed differing methodologies. EPA developed a

five-step “Top Down” method, and TCEQ developed a Three Tier method. These

methods are detailed in EPA’s NSR Manual and TCEQ’s Air Permit Reviewer

Reference Guide, both of which Port Arthur LNG and TCEQ relied on to determine

BACT for the turbines. 153 See Alaska Dep’t of Envtl. Conservation v. EPA, 540 U.S.

461, 518 n.7 (2004)(explaining applicants may use either method; the law does not

dictate a particular method).

         While the two methods differ in their approaches, both methods should reach

the same conclusion.154 Both methods should arrive at a BACT emission limit based

on the maximum degree of reduction for each pollutant which the permitting

authority, on a case-by-case basis, taking into account energy, environmental, and

economic impacts and other costs, determines is achievable for the source. 40 C.F.R.

§ 52.21(b)(12) (1978) (emphasis added). Both methods require Port Arthur LNG and

TCEQ to review recent permits to determine what limits similar sources have



153
      ROA.33926-27; ROA.7709; ROA.8679.
154
      ROA.11064.
                                            39
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achieved.155 Both methods start with the most stringent pollution control limit

identified in recent permits as the assumed BACT limit. 156 And both methods require

a thorough, well documented rationale for rejecting the most stringent limit in favor

of a less stringent limit.157 See Alaska Dep’t of Envtl. Conservation, 540 U.S. at 497

(quoting NSR Manual at B.2 [ROA.10734] to explain that the applicant must provide

information on the various control options and, when a less stringent control option

is proposed, provide a detailed rationale and supporting documentation for

eliminating the more stringent options).

      The BACT analysis is one of the most critical elements of the PSD permitting

process. As such, it should be well documented in the administrative record. 158 A

decision to eliminate potential control options must be adequately explained and

justified. 159 See In re Masonite Corp., 5 E.A.D. 551, 566 (EAB 1994) (remanding

PSD permit decision in part because BACT determination for one emission source

was based on an incomplete cost-effectiveness analysis); In re Pennsauken Cnty.,

N.J., Res. Recovery Facility, 2 E.A.D. 667, 672 (Adm’r 1988) (remanding PSD

permit decision because “[t]he applicant’s BACT analysis * * * does not contain the

level of detail and analysis necessary to satisfy the applicant’s burden” of showing



155
    ROA.10739; ROA.7249.
156
    ROA.10734; ROA.7249-50.
157
    ROA.7249-50; ROA.10739;
158
    ROA.10740-41; ROA.7249-50.
159
    ROA.7249-50; ROA.10739-41.
                                           40
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that a particular control technology is technically or economically unachievable); In

re Columbia Gulf Transmission Co., 2 E.A.D. 824, 830 (Adm'r 1989) (permit

applicant and permit issuer must provide substantiation when rejecting the most

effective technology). The burden of proof is on an applicant to justify why the

proposed source is unable to apply the best technology available and is unable to

meet the lowest limit for similar sources. 160, 161

       Here, to determine BACT for the turbines, Port Arthur LNG applied both

EPA’s Top-Down method and TCEQ’s Three Tier method. 162 However, as the ALJs

concluded, Port Arthur LNG failed to correctly apply either method. Critically, Port

Arthur LNG failed to justify why its proposed BACT pollution limits for NOx and

CO were less stringent than limits at other recently permitted facilities, a

fundamental requirement of both methods. 163 The Commission erred in overriding

the ALJs’ findings and accepting Port Arthur LNG’s deficient BACT analysis,

ignoring the Federal definition of BACT as well as both TCEQ’s and EPA’s policies

and long standing practices.




160
    ROA.10753.
161
    See also U.S. EPA Policy Memorandum on BACT Determinations at 5 (April 23, 1987),
available at https://archive.epa.gov/airquality/ttnnsr01/web/pdf/p8_15.pdf (stating “[t]he burden
of proof always rests on the applicant to demonstrate why a generally accepted and established
control option is unacceptable for the proposed project.,. . . In most cases, a source simply should
not be granted a permit if financing is inadequate for proper controls.”).
162
    ROA.1006-1172; ROA.1049.
163
    ROA.7249-50; ROA.10739.
                                                41
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      B.     Port Arthur LNG’s BACT analysis was deficient because it failed
             to consider lower NOx and CO limits at Rio Grande LNG.

      Port Arthur LNG’s BACT analysis is deficient for failing to consider the lower

NOx and CO limits permitted at Rio Grande LNG. Rio Grande LNG is a liquified

natural gas export terminal using the same GE Frame 7EA turbines in the same

refrigeration compression service as proposed for Port Arthur LNG. 164 It is therefore

a highly salient comparison for a BACT analysis. And it is undisputed that Rio

Grande LNG has permitted limits on its turbines of 5 ppm NOx using Dry Low NOx

burners and 15 ppm CO using good combustion practices.165 The Commission erred

when it wrongly dismissed these limits.

             1.    Port Arthur LNG failed to consider using Dry Low NOx
                   burners to control NOx to a limit of 5 ppm.

      As stated above, Rio Grande LNG uses the same GE Frame 7EA turbines in

the same refrigeration compression service as proposed for Port Arthur LNG. 166 Rio

Grande LNG has a permitted NOx limit of 5 ppm on its turbines using Dry Low NOx

burners.167 The 2020 Rio Grande LNG application includes a vendor guarantee in

the form of a “Baker Hughes Gas Turbine Data Sheet” which shows the GE Frame




164
    ROA.12880; ROA.11801.
165
    ROA.12880.
166
    ROA.12880; ROA.11801.
167
    ROA.12880; ROA.11801.
                                            42
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7EA turbine is capable of meeting a NOx emission rate of “less than 5 ppm” using

Dry Low NOx burners. 168

      Dry Low NOx burners are the same control technology proposed by Port

Arthur LNG for use on the same turbines in the same refrigeration compression

service at the same type of liquified natural gas export terminal. 169 The critical

difference is that Rio Grande LNG is permitted for a significantly lower NOx limit

using that same technology on those same turbines. 170

      As stated above, both EPA and TCEQ BACT methods require reviewing

recently approved permits from similar sources—like Rio Grande LNG.171 And the

lowest previously permitted limit for a control technology should be adopted as

BACT in the absence of a showing of compelling differences between the proposed

source and the previously permitted source.172 Here, the evidence in the record shows

that a limit of 5 ppm NOx is the lowest previously permitted limit for a GE Frame

7EA in refrigeration compression service at an LNG terminal using Dry Low NOx

burners.173

      However, Port Arthur LNG wrongly determined that the lowest limit for a GE

Frame 7EA in refrigeration compression service using Dry Low NOx burners was


168
    ROA.13524-26.
169
    ROA.12880; ROA.11801; ROA.13517-18.
170
    ROA.12880.
171
    ROA.10734-39; ROA.7249
172
    ROA.10756; ROA.7249-50.
173
    ROA.12880; ROA.13524-26.
                                           43
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9 ppm NOx, over 80% more polluting than the actual lowest permitted limit for Dry

Low NOx burners.174 Further, Port Arthur LNG failed to show any meaningful

difference between its proposed plant and Rio Grande LNG that would explain why

it is unable to achieve the lower limit of 5 ppm NOx. 175

      While control technologies can be eliminated from consideration based on

collateral impacts, including cost, any such elimination requires a thorough

justification in the record, to show why the costs borne by similar plants cannot be

borne by the applicant. 176 Here, Port Arthur LNG offered no such evaluation of the

5 ppm limit using Dry Low NOx burners as permitted at Rio Grande LNG—no cost

analysis, no look at collateral impacts. 177

      Because Port Arthur LNG and TCEQ failed to offer any evidence that Port

Arthur LNG could not achieve the previously permitted NOx limit of 5 ppm using

Dry Low NOx burners, that limit must be BACT for the turbines.

      Put simply, Port Arthur LNG’s failure to either accept the recently permitted

lower NOx limit or demonstrate why it could not achieve that limit is fatal to its

BACT analysis. Consequently, the ALJs recommended that Port Arthur LNG’s

permit limits be revised to reflect the NOx limit achieved at Rio Grande LNG: 178



174
    ROA.13517-18.
175
    ROA.6072-73.
176
    ROA.10740-41; ROA.10761.
177
    ROA.6070; ROA.6072.
178
    ROA.6072.
                                               44
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      The ALJs recommend the Draft Permit be revised to require the Facility
      to match the limit imposed on both Rio Grande LNG and Golden Pass
      LNG, both of which are in attainment areas, use GE Frame 7EA
      turbines, and are permitted to limit NOx emissions to 5 ppmvd at 15%
      O2 for the refrigeration compression turbines.
For these reasons, the Court should reject the Final Order and adopt the reasoning in

the PFD because Port Arthur LNG failed to consider Dry Low NOx burners to

control NOx to a limit of 5 ppm.

             2.    Port Arthur LNG failed to consider using best combustion
                   practices to control CO to a limit of 15 ppm.

      As stated above, Rio Grande LNG is permitted, using the same GE Frame

7EA turbines in the same refrigeration compression service, with a BACT CO

emission limit of 15 ppm achieved through the use of good combustion practices.179

      In its BACT analysis for CO, Port Arthur LNG admitted that through the use

of good combustion practices the range of emission control is as low as 15 ppm

CO. 180 Despite acknowledging that good combustion practices were capable of

achieving a CO limit of 15 ppm, Port Arthur LNG proposed to use good combustion

practices to achieve a CO limit of 25 ppm, over 65% more polluting than other

recently permitted sources. 181 The ALJs found that “neither the ED nor Applicant

offered additional evidence to demonstrate that there is a compelling technical

difference as to why Applicant’s CO BACT proposal is less than what has been


179
    ROA.12880.
180
    ROA.1089.
181
    ROA.1089; ROA.1092-93.
                                          45
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accepted as BACT in recent permit reviews.” 182 Additionally, “[w]hen identifying

the BACT determinations for CO for other permitted LNG facilities, Port Arthur

LNG failed to identify Rio Grande LNG in its BACT analysis and failed to

demonstrate why a CO emission limit of 15 ppm is not BACT for the Facility.” 183

      For these reasons, the ALJs found that Port Arthur had failed to conduct a

proper BACT analysis: “because Applicant’s proposed emission reduction level of

25 ppmvd for CO is not ‘at least’ equivalent to Rio Grande LNG, which is also

located in an attainment area and recently permitted with a BACT CO emission limit

of 15 ppmvd through the use of good combustion practices, the third step of the

Tier I analysis has not been demonstrated.”184

      The ALJs concluded:185


        Because an applicant must include in its application information
        demonstrating that emissions from the facility will meet the
        requirements for BACT, with consideration given to the technical
        practicability and economic reasonableness of reducing or
        eliminating the emissions from the facility, 186 the Commission may
        not grant the Draft Permit until such demonstration has been made.187
        Accordingly, the ALJs recommend the Draft Permit be revised to
        require the Facility to match the limit imposed on Rio Grande
        LNG—15 ppmvd at 15% O2 through the use of good combustion
        practices.


182
    ROA.6073-74.
183
    ROA.6073; see ROA.1092-93.
184
    ROA.6074; ROA.8775.
185
    ROA.6074.
186
    30 TEX. ADMIN. CODE § 116.111(a)(2)(C) (1998)
187
    TEX. HEALTH & SAFETY CODE § 382.0518(d) (1991).
                                           46
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For these reasons, the Court should reject the Final Order because Port Arthur LNG

failed to consider using best combustion practices to limit CO to 15 ppm.

              3.     A legally sufficient BACT analysis must include the lower NOx
                     and CO limits permitted at Rio Grande LNG.

       As described above, the very first step of the BACT analysis is to identify

available control technologies by looking at pollution limits in recently issued

permits for similar sources.188 Here, Port Arthur LNG failed to identify the lower

NOx and CO limits at Rio Grande LNG as control technology options for the turbines

in its BACT analysis.189 Further, after PACAN raised this issue at the hearing,190 Port

Arthur LNG failed to offer evidence of any meaningful difference between Rio

Grande LNG and its own facility that might explain why Port Arthur LNG could not

adopt the lower limits. 191

       These lower, more stringent limits are critical to this dispute because

identifying limits and control technology options at similar plants is fundamental to

BACT. As discussed above, in determining BACT, the lowest previously permitted

limit for a control technology must be considered BACT in the absence of a showing

of meaningful differences between the proposed source and the previously permitted




188
    ROA.10734-39; ROA.7249.
189
    ROA.1074-93.
190
    ROA.5849-50.
191
    ROA.6074; ROA.6072.
                                              47
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sources.192 Here, where a similar source has achieved significantly lower permitted

limits and Port Arthur LNG has (1) failed to identify that source and its lower limits

and (2) failed to show meaningful differences between that source and its proposed

plant, BACT must be the lower limits 5 ppm NOx and 15 ppm CO. 193

      For these reasons, the ALJs rightly recommended that Port Arthur LNG’s

permit limits be revised to reflect the NOx and CO limits achieved at Rio Grande

LNG.194

      C.     The Commission’s finding that Rio Grande LNG’s permitted limits
             are not “achievable” was invalid, arbitrary, or unreasonable.
      The Commission’s decision to overrule the ALJs’ recommended emission

limits of 5 ppm NOx and 15 ppm CO for the turbines was invalid, arbitrary, or

unreasonable. To justify its determination that BACT for the turbines is 9 ppm NOx

and 25 ppm CO, the Commission stated the lower emission limits recommended by

the ALJs did not need to be considered in the BACT analysis because they have not

been “demonstrated to be achievable or proven to be in operation, obtainable, and

capable for being reached.”195 They stated, wrongly, that the lower limits were not

considered “achievable” because comparable LNG facilities in Texas which have

adopted lower emission limits “are not in operation and there is no operational data



192
    ROA.10756; ROA.7249-50.
193
    ROA.6073-74; ROA.8775.
194
    ROA.6072; ROA 6074.
195
    ROA.6372.
                                          48
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to prove that their permitted limits are achievable at this time.” 196 As explained in

detail below, the Commission’s explanation is contrary to the Federal definition of

BACT and contrary to both TCEQ’s and EPA’s policies and long-standing practices.

The Commission’s explanation fails to recognize that neither EPA’s Top-Down

methodology nor TCEQ’s Three Tier methodology for determining Federal BACT

require emission limits and the associated control technology to be “in operation”

and have produced “operational data” before they can be considered achievable.

             1.    TCEQ is required to include recently issued/approved permits
                   in its Federal BACT analysis.

      In its Final Order, the Commission acknowledged that Rio Grande LNG has

lower NOx and CO emission limits for its turbines than what the Commission

required of Port Arthur LNG. 197

      The Commission goes on to erroneously state that Rio Grande LNG’s permit,

which the Commission itself has approved, does not provide evidence that its lower

emission limits are “achievable.”198 This finding is contrary to the meaning of

“achievable” regarding Federal BACT as explained in EPA’s NSR Manual 199 and

TCEQ’s guidance.200 For the reasons described below, if an emission limit has been




196
    ROA.6372; ROA.37508-09.
197
    ROA.37498-99.
198
    ROA.37508.
199
    ROA.10749-53.
200
    ROA.7249.
                                          49
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permitted for a similar source, it must be considered “achievable” absent a

compelling showing otherwise.201

       The Commission’s rationale is contrary to its own policy and established

procedure for PSD permits. TCEQ’s BACT guidance states that for Federal major

source (PSD) permits: 202


        TCEQ uses a three-tier approach to evaluate the BACT proposal in
        minor NSR air permit applications. EPA has agreed to accept the
        three-tier approach as equivalent to the top-down method for PSD
        review when the following are considered:

        • Recently issued/approved permits within the state of Texas…
TCEQ’s own policy is to consider recently issued/approved permits. 203 And TCEQ

entirely failed to follow its own policy here.204 Rio Grande LNG’s permit was issued

and approved by TCEQ itself in 2020.205 In 2020, TCEQ found that Rio Grande

LNG’s pollution limits of 5 ppm NOx using Dry Low NOx burners and 15 ppm CO

using good combustion practices were BACT. 206 TCEQ found that these limits were

technically feasible and achievable on GE Frame 7EA turbines in refrigeration

compressor service at a liquefied natural gas export terminal located on the Texas

Gulf Coast. 207 It is the very meaning of arbitrary for TCEQ to now claim that those

201
    ROA.10750.
202
    ROA.7249. (emphasis original).
203
    ROA.7249. (emphasis added).
204
    ROA.37498-99.
205
    ROA.12880.
206
    ROA.12880.
207
    ROA.12880.
                                            50
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same limits are not technically feasible and achievable on those same turbines in the

same service at the same type of facility. TCEQ must adhere to its stated agency

philosophy “to apply regulations clearly and consistently amongst permit

applicants.”208

       Nowhere in TCEQ’s guidance does it say that Federal BACT requires that the

comparable facility has been constructed and produced operational data. In fact, the

opposite is true—operational data is explicitly not required. 209 TCEQ has fabricated

this requirement to reach its desired result.

       Further, TCEQ’s own policy states that “the BACT selection essentially

should default to the highest level of control for which the applicant could not

adequately justify its elimination based on energy, environmental, and economic

impacts…” 210 And TCEQ requires applicants like Port Arthur LNG to provide a

“detailed rationale and supporting documentation for eliminating the more stringent

options” in its BACT analysis. 211 It “is the responsibility of the permit reviewer to

evaluate the documentation and rationale provided by the applicant.” 212 As explained

above, Port Arthur LNG failed to provide any such rationale. 213 And the TCEQ failed




208
    TCEQ’s Agency Philosophy, available at https://www.tceq.texas.gov/agency/mission.html.
209
    ROA.7247; ROA.7249.
210
    ROA.7250.
211
    ROA.7250.
212
    ROA.7250.
213
    ROA.6072; ROA.6074.
                                             51
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to follow its own BACT policy in issuing a permit to Port Arthur LNG with less

stringent pollution limits and no justifying rationale for those limits.214

      2. EPA similarly requires TCEQ to consider BACT limits in recently
         issued/approved permits as achievable in the absence of a compelling
         showing otherwise.

        As previously stated, a permit requiring a particular pollution limit is

sufficient justification to assume the achievability and technical feasibility of that

limit. 215 Here, TCEQ issued a permit to Rio Grande LNG with a NOx limit of 5 ppm

and a CO limit of 15 ppm for its turbines.216 Consequently, those limits are assumed

to be achievable and technically feasible.

        In addition to that standard assumption, EPA also provides a two-step test for

analyzing technical feasibility. While EPA policy contemplates that analysis of a

control technology which is “installed and operated successfully on the source under

review” can be “straightforward”. 217 It is only step one of the analysis. “For control

technologies that are not demonstrated in the sense indicated above, the analysis is

somewhat more involved.”218 In such cases, the achievability analysis proceeds to

step two and asks whether the emission limits (and associated control technology)

are “available” and “applicable.” 219


214
    ROA.7250.
215
    ROA.10739.
216
    ROA.12880.
217
    ROA.10749.
218
    ROA.10749.
219
    ROA.10749-53.
                                           52
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      Regarding availability, EPA states that “[t]echnology is available if it can be

obtained by the Applicant through commercial channels or is otherwise available

within the common sense meaning of the term.” 220 Here, the 2020 Rio Grande LNG

application includes a vendor guarantee in the form of a “Baker Hughes Gas Turbine

Data Sheet” which shows the GE Frame 7EA turbine capable of meeting a NOx

emission rate “less than 5 ppm” using only Dry Low NOx. 221 This vendor guarantee

is evidence that Baker Hughes is in fact offering that model of turbine for sale to Rio

Grande LNG. And Rio Grande LNG relied on this vendor guarantee to receive

approval of its air quality permit from TCEQ.222 It is further evidence that the GE

Frame 7EA turbine with a NOx limit of 5 ppm and CO limit of 15 ppm (1) can be

obtained through commercial channels, and (2) is available in the common sense

meaning of the term.223 The technology is thus “available.”

      And regarding applicability, EPA states that technology is “applicable” “if it

can be reasonably installed and operated on the source type under consideration.”224

Applicability requires a “technical judgment,” 225 but should not be understood to

require operational data. “In general, a commercially available control option will

be presumed applicable if it has been or is soon to be deployed (e.g. is specified in a


220
    ROA.10749.
221
    ROA.13524-26.
222
    ROA.13524-26.
223
    ROA.13524-26.
224
    ROA.10749.
225
    ROA.10750.
                                          53
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permit) on the same or a similar source type.” 226 Here, evidence in the record shows

that the GE Frame 7EA turbine capable of meeting limits of 5 ppm NOx and 15 ppm

CO is commercially available and has been specified in an approved and valid permit

for Rio Grande LNG operating the same model of turbine in the same refrigeration

compression service proposed for Port Arthur LNG. 227 These limits are thus

presumed applicable to Port Arthur LNG.

      Because the lower limits of 5 ppm NOx and 15 ppm CO are “available” and

“applicable” as EPA defines those terms, they must be considered “achievable”

within the meaning of the Federal definition of BACT, and thus must be analyzed in

the BACT analysis for Port Arthur LNG.

      In order to properly dismiss these lower limits as not achievable or technically

infeasible, Port Arthur LNG would be required to “make a factual demonstration of

infeasibility based on commercial unavailability and/or unusual circumstances

which exist with application of the control to the applicant's emission units.” 228 Such

a demonstration would involve “an evaluation of the pollutant-bearing gas stream

characteristics and the capabilities of the technology,”229 or “a showing of




226
    ROA.10750. (emphasis added).
227
    ROA.12880; ROA.11801; ROA.13517-18.
228
    ROA.10751.
229
    ROA.10751.
                                           54
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unresolvable technical difficulty with applying the control.” 230 But Port Arthur LNG

made no such showing. 231

       In the absence of that showing, the Commission’s dismissal of the lower limits

in the Rio Grande LNG permit on the grounds that they are not “achievable” was

contrary to law and contrary to long-standing EPA policy.

             3.    TCEQ mischaracterized EPA policy and ignored EPA’s
                   specific guidance on this Permit.

       In making this erroneous decision, the Commission followed the arguments

made by its staff in the Executive Director’s Exceptions to the Proposal for

Decision.232 Staff arguments misstated the standards clearly articulated in the NSR

Manual, and these misstatements prompted a response from EPA itself.233 Following

the filing of the Exceptions, 234 EPA sent a letter to TCEQ regarding concerns it had

with TCEQ staff’s mischaracterization of portions of EPA’s NSR Manual.235 EPA

wrote: 236


        With respect to limit achievability, it appears that the ED's argument
        raised in the exception filing centers around the suggestion that a
        control technology (and associated limit) cannot and does not
        establish BACT until such a technology and limit has been actually
        constructed, operated, and demonstrated in practice. Until such a

230
    ROA.10751.
231
    ROA.6072; ROA.6074.
232
    ROA.6175-79.
233
    ROA.24530-34.
234
    ROA.6170-86.
235
    ROA.24530-34.
236
    ROA.24533-34.
                                            55
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          time, the ED argues that the limit is considered undemonstrated and
          "beyond BACT." With respect to the top-down BACT approach that
          was utilized for the refrigeration and compression turbines, the
          passages that the ED cites from the NSR Workshop Manual in its
          June 9, 2022, exception filing do not support the ED's suggestion that
          a BACT limitation must be operational to be considered technically
          feasible   and     achievable,     and     mischaracterizes    EPA's
          recommendation for evaluating technical feasibility of a control
          technology and/or alternative as expressed in the NSR Workshop
          Manual.

         EPA explicitly stated that TCEQ was mischaracterizing EPA guidance and

policy with respect to Port Arthur LNG’s permit. 237 EPA went on to outline the two-

step test for achievability and technical feasibility, the framework discussed above,

that the Commission ignored in issuing its Final Order. 238


          If the permitting authority concludes that a technology has not been
          demonstrated in practice, the second step recommended by EPA is
          to evaluate whether the technology is both “available” and
          “applicable” to the type of source for which the permit is sought. In
          this context, “available” means a technology that can be obtained
          through commercial channels (i.e., is commercially-available). EPA
          uses “applicable” in this context to mean there are no physical or
          chemical characteristics of the emissions stream that prevent the
          application of the technology and that can reasonably be deployed
          on the source type under consideration. With regard to the latter,
          “[i]n general, a commercially available control option will be
          presumed applicable if it has been or is soon to be deployed (e.g., is
          specified in a permit) on the same or a similar source type.” See NSR
          Workshop Manual at B.18 (emphasis added). [ROA.10750] In other
          words, a control technology that has not been demonstrated in
          practice can still be considered technically feasible if it is both
          “available” and “applicable.” Additionally, the NSR Workshop
          Manual states that “[a] permit requiring the application of a certain
237
      ROA.24533-34.
238
      ROA.24534.
                                            56
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          technology or emission limit to be achieved for such technology
          usually is sufficient justification to assume the technical feasibility
          of that technology or emission limit.” See NSR Workshop Manual at
          B.7 (emphasis added) [ROA.10739].

         EPA explained that an emission limit specified in an approved permit is

usually sufficient justification to assume that the limit is technically feasible—before

concluding:239


          EPA thus disagrees with the ED's reliance on the EPA’s NSR
          Workshop Manual to support the ED's argument regarding what unit-
          specific BACT limits are generally considered achievable under a
          PSD top-down analysis. EPA has long recognized that a control
          technology and associated limit is not always required to be
          operational or actually demonstrated in practice to be considered
          technically feasible and BACT, as suggested by the ED. In the
          absence of clear supporting documentation showing why a control
          technology is technically infeasible or a limit based on that
          technology is otherwise unachievable for a particular source taking
          into consideration energy, environmental, or economic impacts, a
          permitted BACT limit at a similar source (especially one that is
          supported by a vendor guarantee), can still be considered
          "achievable" consistent with 40 CFR 52.21(b)(12), even if a facility
          subject to such a limit is not yet operational.

         EPA expressly stated to TCEQ regarding this permit that a permitted BACT

limit does not need to be operational or have produced operational data to be

considered achievable.240 Further, EPA stated that “clear supporting documentation”

must be provided to show an emission limit is not achievable, even if it is not yet




239
      ROA.24534.
240
      ROA.24534.
                                            57
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“operational or actually demonstrated in practice.”241 Neither Port Arthur LNG nor

TCEQ introduced evidence that the Rio Grande LNG limits of 5 ppm NOx and 15

ppm CO were not achievable at Port Arthur LNG, which was their burden.242, 243

       Not only did the Commission misapply Federal BACT and mischaracterize

Federal guidance in issuing Port Arthur LNG’s deficient permit, but the Commission

also ignored EPA’s explicit guidance and comments on this specific deficiency.


                                    CONCLUSION
       The Texas Commission on Environmental Quality must comply with the

Federal Clean Air Act in issuing major source air permits, including adhering to the

Federal definition of BACT. In both EPA and TCEQ policy and established practice,

the consideration of pollution emission limits in recently issued permits is the

essential starting point for determining Federal BACT. In the absence of a showing

by Port Arthur LNG that it cannot achieve the most stringent recently permitted

limits, those limits must be BACT. The Commission departed from that policy and

practice by wrongly dismissing the significantly more stringent pollution limits in

the Rio Grande LNG permit. The result is a permit for Port Arthur LNG’s turbines

that will emit 80% more NOx and 66% more CO pollution than the same turbines at


241
    ROA.24534.
242
    ROA.6041; ROA.37506.
243
    Conclusion of Law No. 13 states that “The burden of proof on the issues referred to SOAH
[State Office of Administrative Hearings] is on the Applicant by a preponderance of the
evidence. 30 TEX. ADMIN. CODE § 80.17(a).”
                                              58
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Rio Grande LNG. The Commission’s action was contrary to law, contrary to long-

standing TCEQ and EPA policy and practice, contrary to the ALJs’ findings after a

lengthy hearing, and contrary to the undisputed facts in the record.

      Petitioner-Appellant Port Arthur Community Action Network respectfully

requests that the Court find that TCEQ failed to follow applicable law in issuing a

new air permit for the Port Arthur LNG liquefied natural gas export terminal and

that its Final Order issuing the air permit is invalid, arbitrary, or unreasonable given

the record before the agency.




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      I hereby certify that on the 16th day of February, 2023, an electronic copy of

the foregoing brief was filed with the Clerk of Court for the United States Court of

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